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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,                          '
                                                    '
                       Plaintiff,                   '
                                                    '
 v.                                                 '        NO. 1:21-CR-26-MAC
                                                    '
 LEO JA’ROYCE MATHEWS,                              '
                                                    '
                       Defendant.                   '

                ORDER ADOPTING REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

        Before the court is a report and recommendation of the United States magistrate judge

 regarding the Defendant’s competency for trial.        At the close of the competency hearing,

 counsel for the Government and the Defendant each orally waived their right to object to the

 proposed findings and recommendations contained in the report and agreed the Defendant is

 competent.

        Having conducted an independent review, the court concludes that the Defendant is

 competent to stand trial because he is able to understand the nature and consequences of the

 proceedings against him and able to assist his attorney in his defense. It is therefore

        ORDERED that the report and recommendation of the United States magistrate judge

 on the Defendant’s competency to stand trial is ADOPTED. It is further ORDERED that the

 Defendant, Leo Ja’Royce Mathews, is competent. The speedy trial time shall be excluded

 from April 7, 2021 until the date of this order.

         SIGNED at Beaumont, Texas, this 3rd day of November, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
